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10
                                    IN THE UNITED STATES DISTRICT COURT
11
                               FOR THE NORTHERN DISTRICT OF CALIFORNIA
12
                                            SAN FRANCISCO DIVISION
13

14
       UNITED STATES OF AMERICA,                           Case No.: CR 22–00426 JSC
15
                       Plaintiff,                          REPLY IN SUPPORT OF
16                                                         DEFENDANT’S MOTION FOR A NEW
               v.                                          TRIAL
17
       DAVID WAYNE DEPAPE,                                 Court:           Courtroom 8, 19th Floor
18
                       Defendant.                          Hearing Date:    March 27, 2024
19                                                         Hearing Time:    10:00 a.m.
20

21                                             INTRODUCTION

22          Defendant David DePape moved for a new trial under Federal Rule of Criminal Procedure 33

23   based on the Court’s refusal to give a theory-of-the-defense instruction defining the phrase “on

24   account of the performance of official duties,” which was a phrase contained in the mens rea element

25   for both offenses he was charged with committing, and which was the sole element of both offenses

26   that Mr. DePape contested. See Dkt. 218. Mr. DePape’s proposed modified instruction—that the jury

27   must find he “acted because of [Nancy Pelosi’s] performance of official duties as a Member of

28   Congress”—correctly stated the law and had more than adequate evidentiary support in the record.

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 1          The government’s contrary arguments boil down to its assertions that the phrase “because of” is
 2   somehow distinct from the phrase “on account of,” and that the other jury instructions adequately
 3   covered Mr. DePape’s theory of the defense. See Dkt. 219 at 9–15. As to its first argument, the
 4   government tellingly cites no legal authority for its fine distinction between “because of” and “on
 5   account of,” which in any event numerous dictionaries and courts have held are synonyms. As to its
 6   second argument, the other instructions given by the Court did not encompass the defense theory
 7   because none of the other instructions ever specified that “performance of official duties” pertained
 8   only to performance of official duties by Nancy Pelosi as a Member of Congress. Accordingly, under
 9   binding Ninth Circuit precedent, the Court committed per se reversible error in refusing to give Mr.
10   DePape’s proposed modified instruction defining “performance of official duties,” and must therefore
11   grant his Rule 33 motion.
12                                                ARGUMENT
13   I.     The Court should grant a new trial under Rule 33.

14          The parties agree that the Court has broad authority to grant a motion for a new trial under Rule

15   33. Compare Dkt. 218 at 4–5, with Dkt. 219 at 8. The government does not dispute that numerous

16   authorities agree that Rule 33 motions should be granted if there is a reversible trial error. See, e.g.,

17   United States v. Munoz, 605 F.3d 359, 373 (6th Cir. 2010) (collecting cases); 3 Charles Alan Wright

18   & Arthur R. Miller, Federal Practice and Procedure § 589 & n.2 (5th ed. 2023) (“Courts have

19   concluded that any error sufficient to require a reversal on appeal is an adequate ground for granting a

20   new trial.”) (collecting cases). This rule makes good sense because any trial error that warrants

21   reversal on appeal would of course require a new trial anyway, and granting a Rule 33 motion before

22   an appeal promotes judicial economy.

23          The government emphasizes that the appellate standard of review for the denial of a Rule 33

24   motion is abuse of discretion. See Dkt. 219 at 8. But here, the two issues presented in Mr. DePape’s

25   Rule 33 motion—the Court’s failure to give a theory-of-the-defense instruction and the prosecutor’s

26   misstatement of the law during closing argument—are both subject to de novo review by the

27   appellate court. See United States v. Marguet-Pillado, 648 F.3d 1001, 1006 (9th Cir. 2011)

28   (reviewing de novo whether defendant’s proposed theory-of-the-defense instruction is supported by

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 1   law); United States v. Velazquez, 1 F.4th 1132, 1136–37 (9th Cir. 2021) (de novo review of improper
 2   statements by prosecutor during closing argument)1. Accordingly, in the event of an appeal by Mr.
 3   DePape, the two issues raised in his Rule 33 motion will be reviewed de novo, with no deference to
 4   this Court’s rulings. See id.
 5          A.      The Court should grant a new trial based on its erroneous refusal to instruct the
                    jury on the meaning of “on account of the performance of official duties.”
 6
            In the Ninth Circuit, district courts must give a theory-of-the-defense instruction requested by a
 7
     defendant if the instruction “is supported by law and has some foundation in the evidence.” United
 8
     States v. Kayser, 488 F.3d 1070, 1073 (9th Cir. 2007). “The district court’s failure to give a
 9
     defendant’s requested instruction that is supported by law and has some foundation in the evidence
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     warrants per se reversal, unless other instructions, in their entirety, adequately cover that defense
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     theory.” Marguet-Pillado, 648 F.3d at 1006 (cleaned up). Here, the government does not dispute that
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     Mr. DePape’s requested instructions defining “on account of the performance of official duties” had
13
     some foundation in the evidence. See Dkt. 219 at 9–15. Nor could it, as there was substantial
14
     evidence that Mr. DePape was motivated by factors other than Ms. Pelosi’s performance of official
15
     duties as a Member of Congress, such as his desire to use her to gain access to Target 1, see Dkt. 218
16
     at 2, 9–10, which easily satisfies the “generous” standard for when a theory-of-the-defense instruction
17
     should be given, see, e.g., Kayser, 488 F.3d at 1076 (“[A] defendant is entitled to an instruction
18
     concerning his theory of the case if the theory is legally sound and evidence in the case makes it
19
     applicable, even if the evidence is weak, insufficient, inconsistent, or of doubtful credibility.”
20
     (quoting United States v. Washington, 819 F.2d 221, 225 (9th Cir. 1987))). Instead, the government
21
     argues that Mr. DePape’s proposed instructions misstated the law. See Dkt. 219 at 9–15. Not so.
22
                    1.      Mr. DePape’s proposed theory-of-the-defense instruction is supported by
23                          law.
24          The government primarily focuses on the initial proposed instruction sought by Mr. DePape
25

26   1
      The Ninth Circuit in Velazquez noted that there is a possible intra-circuit split on whether de novo
     or abuse-of-discretion review applies to claims of improper prosecutorial comments during closing
27   argument. See 1 F.4th at 1137. But the Court emphasized that it need not resolve the issue because it
     would reverse regardless of the standard of review, citing “a close case involving a prosecutor’s
28   misstatement of the law” in which it reversed even on plain-error review. Id. (citing United States v.
     Segna, 555 F.2d 226, 230–32 (9th Cir. 1977)).
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 1   defining “on account of the performance of official duties,” arguing that this instruction misstated the
 2   law. See Dkt. 219 at 9–12. Specifically, the government argues that the list of duties of a
 3   Congressperson that Mr. DePape included in his proposed instruction—like legislation, constituent
 4   services, and committee work—was too narrow, and that it was sufficient for the government to
 5   prove only that Mr. DePape was “generally” motivated by Ms. Pelosi’s work as a Congressperson or
 6   in politics, relying heavily on United States v. Williamson, 903 F.3d 124, 131 (D.C. Cir. 2018). See
 7   Dkt. 219 at 10–11.
 8          But Williamson sheds no light on the scope of the official duties of a Member of Congress (or
 9   indeed of any government official) because the case involved an FBI agent. See 903 F.3d at 128.
10   More importantly, Williamson did not purport to address how a jury should be instructed about the
11   “on account of the performance of official duties” element of the offense, or even the scope of that
12   element, because the case arose in the context of a motion to dismiss the indictment. See id. at 130–
13   32. Specifically, the defendant had moved to dismiss the indictment, which simply parroted the
14   language of the statute, arguing that the indictment needed to specify which particular official duties
15   the victim FBI agent was performing that motivated the defendant’s threat. See id. The D.C. Circuit
16   held that indictments that parrot the statutory language are generally legally valid, except in cases
17   where the indictment fails to charge the “very core of criminality” of a particular offense, so as to fail
18   to give defendants fair notice of the charges against them, a standard articulated by the Supreme
19   Court in Russell v. United States, 369 U.S. 749 (1962). See id. at 131 (quoting Russell, 369 U.S. at
20   764). The court then held that the particular official duties of the FBI agent in question did not go to
21   the “very core of the criminality” under § 115(a)(1)(B) so as to require them to be specifically
22   charged in the indictment under the Supreme Court’s rule in Russell. The Williams court was thus not
23   opining on the precise scope of the official-duties element, and was instead merely discussing how
24   core that element was to a violation of § 115(a)(1)(B) for the purposes of complying with the
25   constitutional requirement that an indictment give defendants fair notice of the charges against them.
26   See id. at 130–32.
27          Further, the government still fails to articulate any clear definition of where the line lies
28   between the “official duties” of a Member of Congress and activities that are not official duties,

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 1   instead articulating a standard—based on a misreading of Williams—that a defendant is liable if his
 2   motivations “generally” related to the job functions of a Congressperson and were not purely
 3   “personal.” See Dkt. 10–11. Criminal defendants cannot be deprived of their liberty based on such an
 4   amorphous and ambiguous legal standard requiring proof only that their motivations “generally
 5   related” to a federal official’s performance of her official duties. See, e.g., Skilling v. United States,
 6   561 U.S. 358, 410 (2010) (interpreting honest-services wire-fraud statute narrowly to exclude an
 7   “amorphous category of cases” to avoid constitutional void-for-vagueness concerns). Not only that,
 8   but the government’s reading fails to account for activities that are neither purely “personal” nor
 9   related to a Congressperson’s job function that would not be considered “official duties”—for
10   example, if a Member of Congress also served on a board of directors for a non-profit organization or
11   taught courses as an adjunct professor.
12          The government further argues that Mr. DePape’s modified proposed instruction—which told
13   the jury that it could convict Mr. DePape only if the government proved beyond a reasonable doubt
14   that he “acted because of [Ms. Pelosi’s] performance of official duties as a Member of Congress”—
15   also misstated the law, apparently because the statutory language—“on account of”—is somehow
16   different from the simpler and clearer English phrase “because of.” See Dkt. 219 at 12. The
17   government tellingly cites no authority contradicting Mr. DePape’s obvious semantic proposition,
18   and merely quibbles with the cases cited by Mr. DePape.2 See id. at 14–15. Dictionary definitions
19   also confirm Mr. DePape’s position, uniformly agreeing that the phrase “on account of” means
20   “because of.” See, e.g., Account, Oxford English Dictionary (2023), available at https://www.oed.
21   com/search/dictionary/?scope=Entries&q=on+account+of (last accessed Mar. 19, 2024) (defining “on
22   account of” as “For the sake of, in consideration of; by reason of, because of”); On account of
23   something, Cambridge Dictionary (2024), available at https://dictionary.cambridge.org/us/dictionary
24   /english/on-account-of (last accessed Mar. 19, 2024) (defining “on account of something” as
25   “because of something”); Account Merriam-Webster Dictionary (2024), available at https://www.
26
27   2
       Some of the government’s cases are also entirely inapposite, like United States v. Talley, 164 F.3d
     898, 1003–04 (6th Cir. 1999), which was interpreting the Sentencing Guidelines official-victim
28   enhancement, which turns on the victim’s status alone, and does not even contain the statutory phrase
     relevant here: “on account of the performance of official duties.” See id.; Dkt. 219 at 11.
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 1   merriam-webster.com/dictionary/on%20account%20of (last accessed Mar. 19, 2024) (defining “on
 2   account of something” as “for the sake of : because of”). Thus, contrary to the government’s
 3   contention, Mr. DePape’s proposed modified jury instruction—which simply required the
 4   government to prove that he “acted because of [Nancy Pelosi’s] performance of official duties as a
 5   Member of Congress”—correctly stated the law.
 6          Further, the government does not meaningfully dispute the legal accuracy of the more specific
 7   definition of what types of activities constitute official duties of a Member of Congress, like
 8   legislation, constituent services, and committee work, and what types of activities do not, such as
 9   political fundraising, or the legal authority Mr. DePape cited in support of this definition. See Dkt.
10   218 at 11–12. Thus, the Court’s failure to give this aspect of Mr. DePape’s proposed instruction was
11   likewise error.
12                  2.      The Court’s other jury instructions did not adequately cover the defense
                            theory.
13
            After having vigorously opposed all attempts by the defense to give the jury any definition
14
     whatsoever of “on account of the performance of official duties,” the government has changed its
15
     tune and now asserts that the modified instruction sought by the defense really added nothing and
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     was not materially different from the instructions the Court gave. See Dkt. 219 at 12–15. The
17
     government’s bare contention that the final jury instructions adequately stated the theory of the
18
     defense is wrong.
19
            Critically, the final instructions nowhere clarified what “official duties” were at issue, i.e., Ms.
20
     Pelosi’s official duties as a Member of Congress. Only the defense’s proposed instruction clarified
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     that “performance of official duties” must relate to Ms. Pelosi’s official Congressional duties. Indeed,
22
     the phrase “Member of Congress” appears only once in the final jury instructions, in the definition of
23
     “United States official” in the instruction for Count 2, the assault charge.3 See Dkt. 175 at 16. Thus,
24
     there is only one reference to a “Member of Congress” at all in the jury instructions, and the phrase
25
     pertained only to the first element of Count 2, not at all to Count 1 (the kidnapping charge) or to the
26
27
     3
      The word “Congress,” or any derivative thereof, appears only twice in the final instructions, once as
28   noted above, and once defining “member-elect of Congress” in the same definition of “United States
     official.” See Dkt. 175 at 16.
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 1   contested mens rea element of Count 2, which contained the critical disputed mens rea element
 2   requiring that Mr. DePape assaulted Mr. Pelosi with intent to retaliate against Ms. Pelosi “on account
 3   of performance of official duties.” See id.
 4          Only Mr. DePape’s proposed instruction gave any definition of what official duties—official
 5   duties as a Member of Congress—could support a conviction. And the single reference to a “Member
 6   of Congress,” among a long list of United States officials as relates to a different element of only one
 7   of the two charges cannot be deemed to adequately cover the defense theory. See, e.g., Marguet-
 8   Pillado, 648 F.3d at 1009; see also United States v. Warren, 25 F.3d 890, 896 (9th Cir. 1994) (noting
 9   that the jury should not be “left to piece together the theory of defense from disparate fragments of
10   the general instructions”). This is a critical element of both offenses, and nowhere else was the jury
11   instructed about the nature of which “official duties” were at issue. Especially given that there was
12   testimony about Ms. Pelosi’s other duties—such as her roles with Democratic National Committee
13   and the Democratic Congressional Campaign Committee—it was critical that the jury was instructed
14   that only actions against her taken on account of her duties as a Member of Congress could sustain a
15   criminal conviction. See, e.g., RT 481–85, RT 820–33. The government’s closing arguments, which
16   expressly highlighted the lack of any jury instruction defining “on account of performance of official
17   duties,” and its incorrect argument that there was no distinction between political fundraising and
18   official duties performed as a Member of Congress, exploited and compounded the Court’s error. See
19   RT 952.
20          The Court’s refusal to give the jury any guidance on the meaning of the much-contested phrase
21   “on account of performance of official duties” is all the more puzzling given the heated debate that
22   the parties and the Court had during the charging conference about how the phrase should be defined
23   and exploration of its limits under the law. The final jury instructions, moreover, defined numerous
24   other critical phrases that pertained to other elements of the offense, many of which involved less
25   technical and more straightforward concepts than “official duties,” including “federal officer,”
26   “substantial step,” “forcible assault,” “United States official,” and “dangerous weapon.” See Dkt. 175
27   at 15–16. In sum, the modified instruction sought by Mr. DePape correctly stated the law as requiring
28   proof that he acted because of Ms. Pelosi’s performance of official duties as a Member of Congress;

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 1   there was ample evidentiary basis to support giving such an instruction; and the other jury
 2   instructions did not adequately cover this defense theory because the jury was never instructed that
 3   Ms. Pelosi’s “official duties” were her duties as a Member of Congress. The Court therefore
 4   committed a per se reversible error by refusing to give Mr. DePape’s proposed instructions, and must
 5   grant a new trial on this basis.
 6          B.      The Court should grant a new trial based on the government’s misstatement of the
                    law concerning “performance of official duties” during its closing argument.
 7
            The government also misstated the law during its closing argument when it repeatedly accused
 8
     the defense of concocting a made-up distinction between Ms. Pelosi’s performance of official duties
 9
     as a Member of Congress and her other political activities unrelated to her Congressional duties such
10
     as fundraising. See Dkt. 218 at 11–12. The government falls back on the D.C. Circuit’s Williamson
11
     case, which it interprets as meaning that anything vaguely related to politics falls into the category of
12
     “official duties.” See id. But, as discussed above, Williamson arose in the procedural posture that was
13
     interpreting only what aspects of the offense constituted “the very core of criminality” under that
14
     statute, and it did not purport to outline the outer contours of the official-duties element of the threats
15
     statute at issue there. See 903 F.3d at 131.
16
            The only authority the government cites that deals with Members of Congress is United States
17
     v. Rostenkowski, 59 F.3d 1291 (D.C. Cir. 1995), where the government hones in on language in the
18
     lengthy opinion that it is sometimes difficult to draw a line between official and personal activities of
19
     a Member of Congress. See Dkt. 219 at 11–12. But Rostenkowski does not support the government’s
20
     position. The case involved a former Congressperson charged with honest services fraud (and other
21
     offenses) for using government funds for personal matters, and D.C. Circuit addressed his
22
     interlocutory appeal of a motion to dismiss on various constitutional grounds. See 59 F.3d at 1294–
23
     96. The court ultimately rejected Rostenkowski’s arguments that the Speech and Debate Clause, the
24
     Rulemaking Clause, and separation of powers categorically prohibited any prosecution of him for
25
     using government funds for personal matters. See id. at 1302–12. Thus, the Rostenkowski opinion
26
     does not even purport to outline the scope of the official duties of a Member of Congress, let alone
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     whether that includes or excludes partisan political activities, and the government merely quotes from
28

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 1   portions of the opinion that point out the obvious: being a Member of Congress is a demanding job
 2   that does not have clear beginning and end to the workday. See id. at 1312.
 3          Further, the government’s analysis of Rostenkowski, to the extent it is relevant at all, only goes
 4   to the “while engaged” variant of the crimes charged here, not to the theories of liability that apply in
 5   Mr. DePape’s case: “intent to retaliate against” or “on account of the performance of” official duties.
 6   See 18 U.S.C. § 115(a)(1)(A), § 1201(a)(5). And the government relies on the opinion to argue that a
 7   Member of Congress is essentially always engaged in official duties because of the nature of the job,
 8   a position the D.C. Circuit in Rostenkowski decidedly did not take, and a view expressly rejected by
 9   another federal court in a threats case against a Congressperson. See 59 F.3d at 1302–12; United
10   States v. Fenton, 30 F. Supp. 2d 520, 528 (W.D. Pa. 1998) (rejecting government’s contention “that
11   the defendant need only intend to impede, intimidate or interfere with the Congressman ‘during the
12   time that’ he is performing official duties”) (granting motion for judgment of acquittal). To the extent
13   the government’s position is that it is impossible for courts to clearly outline the contours of the
14   official duties of a Member of Congress, then any prosecution based on an alleged retaliation against
15   Congresspeople on account of their performance of official duties would be unconstitutionally vague.
16   See, e.g., Johnson v. United States, 576 U.S. 591, 595 (2015) (holding that the Fifth Amendment’s
17   guarantee of due process prohibits “taking away someone’s life, liberty, or property under a criminal
18   law so vague that it fails to give ordinary people fair notice of the conduct it punishes, or so
19   standardless that it invites arbitrary enforcement”).
20          The government’s statement to the jury—that the defense “made up” the distinction between
21   Ms. Pelosi’s official duties and political activities that are unrelated to her official duties—was both
22   inflammatory and an inaccurate statement of the law and facts. In trying to capitalize on the Court’s
23   failure to instruct the jury on the extent of the statute, the government went too far.
24          In sum, government misstated the law during its closing argument when it repeatedly accused
25   the defense of concocting a made-up distinction between Ms. Pelosi’s performance of official duties
26   as a Member of Congress and her other political activities unrelated to her Congressional duties such
27   as fundraising. The government has not ever made any attempt to responded to Mr. DePape’s citation
28   to numerous legal authorities drawing such a distinction. See Dkt. 218 at 11–12. Instead, it invites the

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 1   Court to interpret sections 115 and 1201 in a manner that would be unconstitutionally vague, where
 2   any actions by a defendant that are “generally” motivated by politics automatically fall within those
 3   statutes, and that has no mooring in the statutory texts. The Court should also grant a new trial on the
 4   basis of the government’s misstatement of the law during closing.
 5                                              CONCLUSION
 6          The Court should grant Mr. DePape’s motion for a new trial.
 7

 8         Dated:     March 20, 2024                         Respectfully submitted,

 9                                                           JODI LINKER
                                                             Federal Public Defender
10                                                           Northern District of California
11                                                             /S
                                                             ANGELA CHUANG
12
                                                             TODD M. BORDEN
13                                                           Assistant Federal Public Defenders

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